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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

ANDREA SHERWOOD,

      Plaintiff,

v.                                           Case No.: 5:22-cv-00419-JSM-PRL

CELEBRITY'S MANAGEMENT COMPANY, LLC
FREDERICK JACOBS
TAJA JACOBS

      Defendants.
___________________________________________/

     DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
            TO RESPOND TO PLAINTIFF’S COMPLAINT

      Defendants, Celebrity’s Management Company, LLC, Frederick Jacobs and

Taja Jacobs (“Defendants”), by and through their undersigned counsel,

respectfully move for an extension of time up to and including November 11,

2022, to respond to Plaintiff’s Complaint, and state the following in support:

      1.     On September 19, 2022, Plaintiff filed the Complaint (Doc. 1).

      2.     On October 6, 2022, Defendants were served with the Complaint,

making the response deadline October 27, 2022.

      3.     Defendants only recently retained undersigned counsel in this matter.

      4.     Defendants and their counsel are in the process of reviewing

Defendants’ files to formulate an appropriate response to the Complaint.

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However, due to the recency of the undersigned’s retention, Defendants and their

counsel respectfully request additional time to allow them to complete this

process.

       5.    Defendants have conferred with Plaintiff’s counsel about an

extension of time to respond to the Complaint and Plaintiff has no objection.

                           MEMORANDUM OF LAW

       The Court may grant an enlargement of time for good cause shown when

the request is made before the original time expires. Fed. R. Civ. P. 6(b).

Defendants’ request for an extension is made in good faith and does not prejudice

Plaintiff.   In fact, Plaintiff agrees to the proposed extension. Permitting the

extension will enable Defendants to develop a response to the allegations in the

Complaint following analysis of the relevant files. For these reasons, Defendants

request that the Court extend the deadline to respond to the Complaint.

                    LOCAL RULE 3.01(G) CERTIFICATION

       Defendants certify that they have conferred with Plaintiff regarding this

motion and that Plaintiff does not oppose the requested relief.

       WHEREFORE, Defendants, Celebrity’s Management Company, LLC,

Frederick Jacobs and Taja Jacobs respectfully request an extension of time up to

and including November 11, 2022, to respond to Plaintiff’s Complaint.



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      Dated this 25th day of October, 2022.

                                      Respectfully submitted,

                                      SPIRE LAW, PLLC
                                      2572 W. State Road 426, Suite 2088
                                      Oviedo, Florida 32765

                                      By: /s/ Jesse Unruh
                                      Jesse Unruh, Esquire
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                                      filings@spirelawfirm.com
                                      Attorney for Defendants

                          CERTIFICATE OF SERVICE

      I hereby Certify that on this 25th day of October, 2022., the foregoing was

electronically filed through the CM/ECF system, which will send a notice of

electronic filing to Plaintiff’s counsel, Frederick C. Morello, Esquire, Law Offices

of FREDERICK C. MORELLO, P.A., Primary Email: live2freefly@gmail.com;

kristina@fcmesq.com; amber@fcmesq.com; adminasst@fcmesq.com.

                                      /s/ Jesse Unruh
                                      Attorney




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